  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 1 of 14 PageID 64



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

KENNETH D. COLE,

                Plaintiff,
vs.                                                                CASE NO. 3:06-cv-1065-J-TEM

MICHAEL J. ASTRUE,1
Commissioner of Social Security,

                Defendant.

__________________________________

                                      ORDER AND OPINION

        This matter is before the Court on Plaintiff’s complaint (Doc. #1), seeking review of

the final decision of the Commissioner of Social Security (the “Commissioner”) denying

Plaintiff’s claim for Disability Insurance Benefits (“DIB”) and Supplemental Security Income

payments (“SSI”).        The Commissioner has filed the Transcript of the proceedings

(hereinafter referred to as “Tr.” followed by the appropriate page number).

        The undersigned has reviewed and given due consideration to the record in its

entirety, including the parties’ arguments presented in their briefs and the materials

provided in the transcript of the underlying proceedings. Upon review of the record, the

undersigned found the issues raised by Plaintiff were fully briefed and determined oral

argument would not benefit the undersigned in making his determinations.

        Accordingly, the instant matter has been decided on the written record. For the

reasons set out herein, the Commissioner’s decision is REVERSED and REMANDED.



        1
         On February 12, 2007, Michael J. Astrue became the Commissioner of Social Security.
Pursuant to Rule 25, Federal Rules of Civil Procedure, Michael J. Astrue is substituted as Defendant
herein.
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 2 of 14 PageID 65



                                          I. Procedural History

       On September 5, 2003, Plaintiff filed an application for SSI and DIB (Tr. 317-18, 87-

89), alleging disability from July 13, 2003, due to multiple impairments, including

degenerative disc disease, cubital tunnel syndrome, herniated cervical nucleus pulposus,

carpal tunnel syndrome, muscle spasms, asthma, and hernia (Tr. 103).

       Plaintiff’s claims were denied at the initial and reconsideration levels. Administrative

Law Judge (“ALJ”) James R. Russell conducted a hearing on February 8, 2006 (Tr. 327-

63). The ALJ found Plaintiff not disabled by opinion dated May 18, 2006 (Tr. 24-32). The

Appeals Council denied Plaintiff’s request for review on September 7, 2006 (Tr. 6-9),

making the ALJ’s decision the final decision of the Commissioner. See 20 C.F.R. §§

404.981, 422.210.2 Plaintiff now seeks the Court’s review of the ALJ’s unfavorable decision

pursuant to 42 U.S.C. §§ 405(g); 1383(c)(3) (Doc. #1).

                                         II. Standard of Review

       A plaintiff is entitled to disability benefits under the Social Security Act when he or

she is unable to engage in substantial gainful activity by reason of any medically

determinable physical or mental impairment which can be expected to either result in death

or last for a continuous period of not less than 12 months. 42 U.S.C. § 1382c (a)(3)(A).

       For purposes of determining whether a claimant is disabled, the law and regulations

governing a claim for disability benefits are identical to those governing a claim for

supplemental security income benefits. Patterson v. Bowen, 799 F.2d 1455, 1456, n. 1

(11th Cir. 1986). The Commissioner has established a five-step sequential evaluation



       2
           Unless otherwise specified, all references to 20 C.F.R. will be to the 2007 edition.

                                                       2
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 3 of 14 PageID 66



process for determining whether a plaintiff is disabled and therefore entitled to benefits.

See 20 C.F.R. §§ 404.1520(a)(4)(i-v), 416.920(a)(4)(i-v); Crayton v. Callahan, 120 F. 3d

1217, 1219 (11th Cir. 1997). Plaintiff bears the burden of persuasion through Step 4, while

at Step 5 the burden shifts to the Commissioner. Bowen v. Yuckert, 482 U.S. 137, 146

(1987). The scope of this Court's review is generally limited to determining whether the

ALJ applied the correct legal standards, McRoberts v. Bowen, 841 F.2d 1077, 1080 (11th

Cir. 1988), and whether the findings are supported by substantial evidence. See also

Richardson v. Perales, 402 U.S. 389, 390 (1971).

       The Commissioner’s findings of fact are conclusive if supported by substantial

evidence.   42 U.S.C. § 405(g).       Substantial evidence is defined as more than a

scintilla—i.e., the evidence must do more than merely create a suspicion of the existence

of a fact, and must include such relevant evidence as a reasonable person would accept

as adequate to support the conclusion. Foote v. Chater, 67 F.3d 1553, 1560 (11th Cir.

1995) (citing Walden v. Schweiker, 672 F.2d 835, 838 (11th Cir. 1982)).

       Where the Commissioner’s decision is supported by substantial evidence, the Court

will affirm, even if the reviewer would have reached a contrary result as finder of fact, and

even if the reviewer finds that the evidence preponderates against the Commissioner’s

decision. Edwards v. Sullivan, 937 F.2d 580, 584 n.3 (11th Cir. 1991); Barnes v. Sullivan,

932 F.2d 1356, 1358 (11th Cir. 1991). The district court must view the evidence as a whole,

taking into account evidence favorable as well as unfavorable to the decision. Foote, 67

F.3d at 1560.

       The Commissioner must apply the correct law and demonstrate that he has done

so. While the Court reviews the Commissioner’s decision with deference to the factual

                                             3
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 4 of 14 PageID 67



findings, no such deference is given to the legal conclusions. Keeton v. Dep’t of HHS, 21

F.3d 1064, 1066 (11th Cir. 1994) (citing Cornelius v. Sullivan, 936 F.2d 1143, 1145 (11th Cir.

1991)). Therefore, in determining whether the Commissioner’s decision is supported by

substantial evidence, the reviewing court must not re-weigh the evidence, but must

determine whether the record, as a whole, contains sufficient evidence to permit a

reasonable mind to conclude that the plaintiff is not disabled. Bloodsworth v. Heckler, 703

F.2d 1233, 1239 (11th Cir. 1983).

       As in all Social Security disability cases, Plaintiff bears the ultimate burden of proving

disability, and is responsible for furnishing or identifying medical and other evidence

regarding his or her impairments. Bowen, 482 U.S. at 146 n.5; Carnes v. Sullivan, 936

F.2d 1215, 1218 (11th Cir. 1991); McSwain v. Bowen, 814 F.2d 617, 619 (11th Cir. 1987);

42 U.S.C. § 423(d)(5) (“An individual shall not be considered to be under a disability unless

he [or she] furnishes such medical and other evidence of the existence thereof as the

Commissioner of Social Security may require.”) It is a plaintiff’s burden to provide the

relevant medical and other evidence that he or she believes will prove they suffer from

disabling physical or mental functional limitations. 20 C.F.R. §§ 404.704, 416.912(c).

                                   III. Background Facts

       Plaintiff was born on December 9, 1957 (Tr. 333). Plaintiff has a ninth grade

education and twenty eight years of past relevant work experience as a truck driver (Tr.

114, 333-34). On March 9, 2001, Plaintiff, while working as a truck driver, was injured

when a 150 pound lumber pack fell, slammed his left elbow against the side of a truck and,

ultimately, crushed his left hand (Tr. 156).       Immediately after the accident, Plaintiff

experienced pain and marked numbness from his left elbow down to his fingers on his left

                                               4
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 5 of 14 PageID 68



hand (Tr. 156). On May 3, 2001, Plaintiff presented to John Hawkins, III, M.D. (“Dr.

Hawkins”), who noted Plaintiff suffered from “left ulnar nerve lesion at elbow” and neck pain

(Tr. 157-58).3

        Between May 2001 and January 2002, Plaintiff sought treatment for his left arm

numbness/pain from Garry Kitay, M.D. (“Dr. Kitay”) (Tr. 160-70). Dr. Kitay noted that nerve

conduction reports from July 2002 confirmed the presence of moderate cubital tunnel

syndrome and mild to moderate carpal tunnel syndrome (Tr. 164-65). Dr. Kitay performed

a left cubital tunnel release on November 28, 2001 (Tr. 167). On January 3, 2002 (five

weeks following Plaintiff’s left cubital tunnel release surgery), Plaintiff reported marked

improvement of his left arm numbness/pain; however, he still complained of neck pain (Tr.

168).4 On January 10, 2002, Dr. Kitay released Plaintiff from his care, stating Plaintiff had

reached maximum medical improvement (“MMI”) (related to his arm injury) and that he

could return to usual work duty; however, Dr. Kitay further stated that Plaintiff “remains

limited due to his neck pain” (Tr. 169). Dr. Kitay then referred Plaintiff back to Dr. Chapa

and Dr. Hawkins for his neck pain (Tr. 169-70).5

        From May 2002 through July 2002, Plaintiff sought treatment from Calvin Hudson,

M.D. (“Dr. Hudson”) for continued left arm pain and neck pain (Tr. 208-09). Dr. Hudson

read the results of an MRI taken of Plaintiff’s cervical spine on May 23, 2002, and stated


        3
          Plaintiff was referred to Dr. Hawkins by Robert W. Chapa, M.D. (“Dr. Chapa”) after an April 24,
2001 cervical spine magnetic resonance imagining (“MRI”) showed a C5-6 central disc
“protrusion/herniation” (Tr. 156, 190).

        4
            Throughout his treatment with Dr. Kitay, Plaintiff complained of neck pain (Tr. 160, 163, 168,
169).
        5
        The Court notes that it does not appear from the record that Plaintiff ever returned to the care of
Dr. Chapa or Dr. Hawkins.

                                                       5
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 6 of 14 PageID 69



the MRI confirmed Plaintiff suffered from a ruptured disc at C5-6, which Dr. Hudson noted

“could certainly be causing his [Plaintiff’s] neck and left arm pain” (Tr. 204).

       On November 13, 2003, at the request of the Commissioner, Plaintiff underwent a

consultative examination by Kirk Mauro, M.D. (“Dr. Mauro”) (Tr. 210-11). Dr. Mauro noted

that Plaintiff presented with a cane and that Plaintiff rated his daily pain level as an eight

on a scale of one to ten, with ten representing the most pain (Tr. 210-11). Dr. Mauro

observed the presence of a left ulnar nerve injury and complaints of neck pain (Tr. 211).

Dr. Mauro agreed with Dr. Kitay’s opinion that Plaintiff had reached MMI concerning his

work related injury (i.e. left arm injury) and that Plaintiff could return to “light duty type

activity” (Tr. 211).

       From October 2003 through March 2004, Plaintiff sought treatment from Eugene

Charbonneau, M.D. (“Dr. Charbonneau”) for a variety of ailments that included lower back

and neck pain (Tr. 236-46).        On March 22, 2004, Dr. Charbonneau provided an

assessment of Plaintiff’s ability to perform sedentary work activity (Tr. 246).            Dr.

Charbonneau indicated that Plaintiff required a hand-held assistive device for even

occasional standing and walking and would not be expected to attend any employment

situation for eight hours per day, five days per week (Tr. 246).           Dr. Charbonneau

commented that Plaintiff experienced significant lower back and neck pain, which affected

his concentration, and that Plaintiff was unable to sustain the activity and attention required

in a competitive work place (Tr. 246).

       On February 13, 2004, a state agency medical consultant, Mary Elizabeth Seay,

M.D. (“Dr. Seay”) filled out a physical residual functional capacity (“RFC”) assessment,



                                              6
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 7 of 14 PageID 70



wherein she stated Plaintiff retained the RFC for light work.6 Dr. Seay, however, noted that

Plaintiff’s C5-6 symptoms were attributable to a medically determinable impairment and

that, in her opinion, Plaintiff’s symptoms were “generally credible” (Tr. 230, 227).

        On October 28, 2004, Plaintiff presented to a clinic of the Florida Department of

Health with complaints of shortness of breath and pain in his back and shoulder (Tr. 300-

01). Plaintiff was diagnosed with chronic bronchitis and lower back pain (Tr. 300-01). On

January 10, 2005, a physician at a Florida Department of Health clinic referred Plaintiff to

vocational rehabilitation and indicated that Plaintiff required a cane for ambulation (Tr. 294-

95).7

        On June 20, 2005, Plaintiff further sought treatment from Thomas C. Washburn,

M.D. (“Dr. Washburn”) at a Florida Department of Health clinic for ongoing chronic pain

(Tr. 273). Plaintiff complained of numbness, tingling, and burning in his arms, and radiating

neck pain (Tr. 274).

        At the February 8, 2006 hearing, Plaintiff appeared and testified, and was

represented by attorney Charles Romo (“Romo”) (Tr. 327). Plaintiff stated that, in addition

to his other ailments, he suffers from neck problems, numbness in his arms, and insomnia,

and that his arms “go to sleep” and are numb every day (Tr. 335). Plaintiff additionally

stated that he is unable to twist off a bottle cap or use a screwdriver and that he can lift a

cup of coffee or one liter of soda, but nothing heavier (Tr. 335-36). Plaintiff maintained he


        6
          According to Social Security Ruling 83-10, light work requires the ability to lift and carry twenty
pounds occasionally and up to ten pounds frequently, sitting up to six hours of an eight-hour workday, and
standing/walking six or more hours in an eight-hour workday. SSR 83-10, 1983 WL31251, at *5 (S.S.A.
Nov. 30, 1982).
        7
         The Court notes that, although Plaintiff obtained a cane, apparently without a prescription, this is
the second doctor who stated Plaintiff requires a cane (see Tr. 246, 294-95).

                                                      7
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 8 of 14 PageID 71



can only sit for twenty minutes before his legs go numb and his feet swell (Tr. 336).

       Plaintiff testified that he must prop up his feet for about four to five hours daily to

alleviate his back pain (Tr. 336). Plaintiff further stated that he can only walk only 80 to 100

feet due to lower back pain, numbness in his legs, and swelling in his feet (Tr. 337).

Plaintiff stated he has constant muscle spasms, weakness, loss of finger manipulation, loss

of memory and dizziness (caused by his medications), and that he has problems staying

focused on a television program (Tr. 338-40).

       Vocational Expert (“VE”) Mark Capps testified that Plaintiff’s past work as a truck

driver is classified as medium to very heavy work, as defined by the Dictionary of

Occupational Titles (“DOT”) (Tr. 354). See e.g. 1 United States Dep’t of Labor, Dictionary

of Occupational Titles §§ 904.383-010, 905.663-014, 905.663-010, 906.683-022 (4th Ed.

1991). The ALJ asked the VE to identify jobs that could be performed by a hypothetical

plaintiff with a RFC for a restricted range of light work (Tr. 355). The ALJ stated the

hypothetical claimant could never climb ropes, ladders, or scaffolds, must avoid

concentrated exposure to open electrical, dangerous moving machinery, or unprotected

heights (Tr. 355-56).     The ALJ further stated the hypothetical claimant must avoid

concentrated exposure to pulmonary irritants and cannot engage in constant same motion

function with his hands (Tr. 356).

       The VE responded that the hypothetical individual, as described by the ALJ, would

not be able to perform Plaintiff’s past work (Tr. 356). The VE, however, stated the

hypothetical individual could perform the following other jobs available within the national

and local economy: (1) office helper; (2) mailroom clerk; and (3) surveillance system

monitor (Tr. 357). See 1 United States Dep’t of Labor, Dictionary of Occupational Titles §§

                                               8
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 9 of 14 PageID 72



239.567-010, 209.687-026, 379.367-010.

       The ALJ then asked the VE to consider the same hypothetical individual and added

that the individual must have the opportunity to perform the job sitting or standing at will (Tr.

358). The VE responded that such an individual would not be able to perform the jobs of

office helper or mailroom clerk, but could still work as a surveillance system monitor (Tr.

358-59). The ALJ asked the VE to consider the same hypothetical individual and added

that a cane is necessary for ambulation (Tr. 359). The VE replied that the use of a cane

would preclude work as a office helper or mailroom clerk, but not work as a surveillance

system monitor (Tr. 359).

       Plaintiff’s attorney, Romo, asked the VE if the hypothetical individual could still

perform the aforementioned jobs if he is unable to tilt his neck up and down repeatedly, to

which the VE responded that a surveillance system monitor must move more than his eyes

to look at the screens and that an individual who is unable to repeatedly move his neck

would likely have marked levels of concentration impairment (Tr. 360-61). Romo next

asked the VE to consider the vocational implications of medication side effects such as

lightheadedness and dizziness upon the surveillance system monitor position (Tr. 362).

The VE answered that, if the lightheadedness and dizziness resulted in more than a

moderate impairment, then even unskilled work would be eliminated (Tr. 362).

       Finally, Romo asked the VE to consider the vocational implications of a moderate

to marked problem remembering and understanding written materials (Tr. 362). The VE

replied that moderate to marked limitations in this area would adversely affect, but possibly

not preclude, work as a surveillance system monitor (Tr. 362). After Romo’s examination

of the VE, the ALJ did not ask the VE any additional questions.

                                               9
  Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 10 of 14 PageID 73



        On June 28, 2006, one of Plaintiff’s treating physicians, Dr. Washburn, wrote a letter

(presumably to the Social Security Administration) regarding Plaintiff (Tr. 14).                         Dr.

Washburn stated that Plaintiff requires treatment for, among other conditions: degenerative

disk disease of the neck and lumbar spine, bilateral carpal tunnel syndrome, asthma, and

chronic bronchitis (Tr. 14). In Dr. Washburn’s opinion, Plaintiff is permanently and totally

disabled, and has been for over three and a half years (Tr. 14).8

                                             IV. Analysis

        Without addressing all of Plaintiff’s arguments, the Court finds the ALJ’s decision

was not reached in accordance with the Regulations and the law of this circuit, and is not

supported by substantial evidence. For the following reasons, the ALJ’s decision is

reversed and remanded.

        Specifically, the ALJ, in the findings of fact and conclusions of law portion of his

decision, found Plaintiff suffered from the following severe impairments: “cervical spine

degenerative disc disease and lumbar spine degenerative disc disease, history of left

cubital tunnel syndrome, history of carpal tunnel syndrome, chronic obstructive pulmonary

disease (“COPD”), hypertension, and hyperlipidemia” (Tr. 26, Finding 3). Additionally, the

ALJ stated:

        The evidence establishes that the claimant [Plaintiff] has degenerative
        changes in his cervical spine and lumbar spine. He has a history of neck and
        low back pain and has been prescribed narcotics [sic.] pain relievers, anti-
        inflammatory drugs and analgesics to help control his symptoms. However,
        the evidence does not support a finding that his impairments are of a severity
        that would cause the pain and limitations alleged. A cervical spine magnetic


        8
        The Court notes that, even though Dr. Washburn’s letter is dated after Plaintiff’s February 8,
2006 hearing, Dr. Washburn’s letter is part of the record; however, the ALJ did not mention Dr.
Washburn’s letter or Dr. Washburn’s opinion concerning Plaintiff’s impairments in his decision.

                                                    10
 Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 11 of 14 PageID 74



       resonance imaging of May 2002 confirmed the presence of degenerative disc
       disease, disc bulge and disc protrusion but no evidence of disc herniation or
       canal stenosis. . . .

(Tr. 28) (emphasis added).

       The ALJ, however, also made the following statement in his decision: “Dr. Hudson

requested cervical and lumbar magnetic resonance imaging scans [May 23, 2002 MRI]

which he noted confirmed the presence of a ruptured disc at C5-6 which could be

responsible for the claimant’s [Plaintiff] neck and left arm pain” (Tr. 27 (emphasis added);

see also Tr. 204)).

       The word “rupture” is defined by Steadman’s Medical Dictionary as follows: “rupture

[L. ruptura a fracture (of limb or vein), fr. rumpo, pp. rupyus, to break]. 1. Hernia. 2. A

solution of continuity or a tear; a break of any organ or other of the soft parts.” Steadman’s

Medical Dictionary, 1374 (William R. Hensyl et al. eds., Williams & Wilkins 25th ed. 1990)

(1911).

       Accordingly, the Court finds the ALJ’s formal findings of fact are contradicted by his

other statements in the decision and the medical evidence of record (which shows Plaintiff

suffers from a herniated/ruptured disc at C5-6 that could be responsible for his neck and

left arm pain). Even the state agency medical consultant, Dr. Seay, stated that Plaintiff’s

“disc protrusion at C5-6" could reasonably lead to the type of neck and arm pain Plaintiff

claims he experiences and that his “symptoms are generally credible” (Tr. 228-30).

       Since the ALJ failed to recognize Plaintiff suffers from a herniated/ruptured cervical

disc at C5-6, it is unclear whether he contemplated this impairment when he determined

Plaintiff’s residual functional capacity. The term “residual functional capacity” is defined by

the Regulations as the most an individual can still do after considering the effects of

                                              11
 Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 12 of 14 PageID 75



physical and/or mental limitations that affect the ability to perform work-related activities.

20 C.F.R. §§ 404.1545, 416.945. In making an RFC assessment, ALJ must consider all

evidence in the case record. 20 C.F.R. §§ 404.1545, 416.945. The ALJ must also

consider all symptoms, including pain, and the extent to which these symptoms can

reasonably be accepted as consistent with the objective medical evidence. 20 C.F.R. §§

404.1529, 416.929.

       Here, the Court is unable to determine whether the ALJ considered Plaintiff’s

ruptured cervical disc at C5-6 when he assessed Plaintiff’s RFC (see Tr. 28, Finding 5).

Although the ALJ stated, “[w]hen considering the mild to moderate findings on cervical and

lumbar magnetic resonance imaging scans, the claimant would have difficulty with

extremes of movement and heavy exertion,” the Court cannot find the ALJ contemplated

Plaintiff’s ruptured/herniated cervical disc at C5-6 when he referenced “mild to moderate

[MRI] findings” (see Tr. 30).

       For the aforementioned reasons, the Court finds the ALJ failed to consider or

properly distinguish material record evidence in making Plaintiff’s RFC assessment; thus,

the Court finds the ALJ did not apply the proper legal standards in denying Plaintiff’s

disability claim. Accordingly, the decision of the Commissioner shall be reversed and

remanded for additional proceedings consistent with this Order and Opinion.

                                      V. Conclusion

       For the foregoing reasons, the Court finds the decision of the Commissioner is

neither supported by substantial evidence, nor decided according to proper legal standards.

Accordingly, the Commissioner’s decision is hereby REVERSED and REMANDED



                                             12
 Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 13 of 14 PageID 76



pursuant to sentence four of 42 U.S.C. § 405(g).

       Plaintiff is cautioned, however, that this opinion does not suggest Plaintiff is entitled

to disability benefits. Rather, it speaks only to the process the ALJ must engage in and the

findings and analysis the ALJ must make before determining whether Plaintiff is disabled

within the meaning of the Social Security Act. Phillips v. Barnhart, 357 F.3d 1232, 1244

(11th Cir. 2004).

       Upon remand, the Commissioner shall re-evaluate Plaintiff in accordance with the

applicable Regulations and prevailing case law. The additional proceedings, should

include, but are not limited to: assessment of the severity of all of Plaintiff’s medically

determinable impairments and, in light thereof, re-assessment of Plaintiff’s RFC;

consideration of the opinions of Plaintiff’s examining and treating medical sources

(including Dr. Washburn’s opinion); consideration of the opinions of non-examining medical

sources; re-evaluation of Plaintiff’s subjective complaints of pain; and, if warranted,

additional vocational expert testimony.

       Furthermore, the ALJ shall accord proper weight to the testimony and statements

of Plaintiff’s treating physicians in accordance with the law of this circuit. See Lewis v.

Callahan, 125 F.3d 1426, 1440-41 (11th Cir. 1997); Sharfarz v. Bowen, 825 F.2d 278, 279-

81 (11th Cir. 1987). If the ALJ finds reason to disregard the opinion of a treating or

examining physician, he must provide specific reasons for doing so, and these reasons

must be supported by substantial evidence in the record.




                                              13
 Case 3:06-cv-01065-TEM Document 21 Filed 03/24/08 Page 14 of 14 PageID 77



                              VI. Directions as to Judgment

         The Clerk of Court is directed to enter judgment consistent with this Opinion and,

thereafter, to close the file. The judgment shall state that if Plaintiff were to ultimately

prevail in this case upon remand to the Social Security Administration, any motion for

attorney fees under 42 U.S.C. § 406(b) must be filled within fourteen (14) days of the

Commissioner’s final decision to award benefits. See Fed. R. Civ. P. 54(d)(2)(B); M.D. Fla.

Loc. R. 4.18(a); Bergen v. Commissioner of Social Security, 454 F.3d 1273, 1278 (11th Cir.

2006).

         DONE AND ORDERED at Jacksonville, Florida this 24th day of March, 2008.




Copies to all counsel of record
      and pro se parties, if any




                                             14
